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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

 U.S. NAVY SEALs 1 26, et al.,                      §
                                                    §
            Plaintiffs,                             §
                                                    §
 v.                                                 §   Civil Action No. 4:21-cv-01236-O
                                                    §
 LLOYD J. AUSTIN, III, et al.,                      §
                                                    §
            Defendants.                             §

                                        FINAL JUDGMENT

           This Judgment is issued pursuant to Federal Rule of Civil Procedure 58(a).

           This action came on for consideration by the Court, and the issues having been resolved

pursuant to a negotiated settlement,

           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

      1.                                                Approving Settlement Agreement (ECF No.

           320), this Judgment fully and finally resolves all claims and causes of action asserted in

           the above-entitled and numbered cause.

      2. All claims asserted by Plaintiffs against Defendants in this matter are DISMISSED in

           accordance with the terms and conditions of the Settlement Agreement (ECF No. 279).

           SO ORDERED on this 25th day of July, 2024.



                                                    _____________________________________
                                                    Reed OConnor
                                                    UNITED STATES DISTRICT JUDGE
